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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND

                                           )
 STATE OF NEW YORK; STATE OF               )
 CALIFORNIA; STATE OF                      )
 ILLINOIS; STATE OF RHODE                  )
 ISLAND; STATE OF NEW JERSEY;              )
 COMMONWEALTH OF                           )
 MASSACHUSETTS; STATE OF                   )
 ARIZONA; STATE OF COLORADO;               )
 STATE OF CONNECTICUT; STATE               )
 OF DELAWARE; THE DISTRICT                 )
 OF COLUMBIA; STATE OF                     )
 HAWAII; OFFICE OF THE                     )
 GOVERNOR ex rel. Andy Beshear, in         )
 his official capacity as Governor of      )
 the COMMONWEALTH OF                       )
                                           )
 KENTUCKY; STATE OF MAINE;
                                           )
 STATE OF MARYLAND; STATE OF
                                           )
 MICHIGAN; STATE OF                        )
 MINNESOTA; STATE OF NEVADA;               )
 STATE OF NEW MEXICO; STATE                )
 OF NORTH CAROLINA; STATE OF               )     C.A. No. 25-cv-39-JJM-PAS
 OREGON; STATE OF VERMONT;                 )
 STATE OF WASHINGTON; and                  )
 STATE OF WISCONSIN,                       )
                                           )
       Plaintiffs,                         )
 v.                                        )
                                           )
                                           )
 DONALD TRUMP, in his official
                                           )
 capacity as President of the United
                                           )
 States; U.S. OFFICE OF                    )
 MANAGEMENT AND BUDGET;                    )
 RUSSELL VOUGHT, in his official           )
 capacity as Director of the U.S. Office   )
 of Management and Budget; U.S.            )
 DEPARTMENT OF THE                         )
 TREASURY; SCOTT BESSENT, in               )
 his official capacity as Secretary of     )
 the Treasury; PATRICIA COLLINS,           )
 in her official capacity as Treasurer     )
 of the United States; U.S.                )
                                           )
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 DEPARTMENT OF HEALTH AND                   )
 HUMAN SERVICES; ROBERT F.                  )
 KENNEDY, JR., in his official              )
 capacity as Secretary of Health and        )
 Human Services; U.S.                       )
                                            )
 DEPARTMENT OF EDUCATION;
                                            )
 LINDA MCMAHON, in her official
                                            )
 capacity as Secretary of Education;        )
 U.S. DEPARTMENT OF                         )
 TRANSPORTATION; SEAN DUFFY,                )
 in his official capacity as Secretary of   )
 Transportation; U.S. DEPARTMENT            )
 OF LABOR; VINCE MICONE, in his             )
 official capacity as Acting Secretary      )
 of Labor; U.S. DEPARTMENT OF               )
 ENERGY; CHRIS WRIGHT, in his               )
 official capacity as Secretary of          )
 Energy; U.S. ENVIRONMENTAL                 )
                                            )
 PROTECTION AGENCY; LEE
                                            )
 ZELDIN, in his official capacity as
                                            )
 Administrator of the U.S.                  )
 Environmental Protection Agency;           )
 U.S. DEPARTMENT OF THE                     )
 INTERIOR; DOUG BURGUM, in his              )
 official capacity as Secretary of the      )
 Interior; U.S. DEPARTMENT OF               )
 HOMELAND SECURITY; KRISTI                  )
 NOEM, in her capacity as Secretary         )
 of Homeland Security; U.S.                 )
 DEPARTMENT OF JUSTICE;                     )
 PAMELA BONDI, in her official              )
 capacity as Attorney General of the        )
                                            )
 U.S. Department of Justice; THE
                                            )
 NATIONAL SCIENCE                           )
 FOUNDATION; DR. SETHURAMAN                 )
 PANCHANATHAN, in his capacity              )
 as Director of the National Science        )
 Foundation; U.S. DEPARTMENT OF             )
 AGRICULTURE; BROOKE                        )
 ROLLINS, in her official capacity as       )
 Secretary of Agriculture; U.S.             )
 DEPARTMENT OF HOUSING AND                  )
 URBAN DEVELOPMENT; SCOTT                   )
 TURNER, in his official capacity as        )
                                            )


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 Secretary of Housing and Urban            )
 Development; U.S. DEPARTMENT              )
 OF STATE; U.S. AGENCY FOR                 )
 INTERNATIONAL                             )
 DEVELOPMENT; MARCO RUBIO,                 )
                                           )
 in his official capacities as Secretary
                                           )
 of State and Acting Administrator of
                                           )
 the United States Agency for              )
 International Development; U.S.           )
 DEPARTMENT OF DEFENSE;                    )
 PETER HEGSETH, in his official            )
 capacity as Secretary of Defense; U.S.    )
 DEPARTMENT OF VETERANS                    )
 AFFAIRS; DOUG COLLINS, in his             )
 official capacity as Secretary of         )
 Veterans Affairs; U.S.                    )
 DEPARTMENT OF COMMERCE;                   )
 HOWARD LUTNICK, in his official           )
                                           )
 capacity as Secretary of Commerce;
                                           )
 NATIONAL AERONAUTICS AND
                                           )
 SPACE ADMINISTRATION; JANET               )
 PETRO in her official capacity as         )
 Acting Administrator of National          )
 Aeronautics and Space                     )
 Administration; CORPORATION               )
 FOR NATIONAL AND                          )
 COMMUNITY SERVICE;                        )
 JENNIFER BASTRESS                         )
 TAHMASEBI, in her official capacity       )
 as Interim Head of the Corporation        )
 for National and Community Service;       )
 U.S. SOCIAL SECURITY                      )
                                           )
 ADMINISTRATION; LELAND
                                           )
 DUDEK, in his official capacity as        )
 Acting Commissioner of United             )
 States Social Security                    )
 Administration; U.S. SMALL                )
 BUSINESS ADMINISTRATION; and              )
 KELLY LOEFFLER, in her official           )
 capacity as Administrator of U.S.         )
 Small Business Administration,            )
                                           )
        Defendants.                        )
                                           )



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                           MEMORANDUM AND ORDER

 JOHN J. MCCONNELL, JR., United States District Chief Judge.

        The Executive’s categorical freeze of appropriated and obligated funds

 fundamentally undermines the distinct constitutional roles of each branch of our

 government. The interaction of the three co-equal branches of government is an

 intricate, delicate, and sophisticated balance—but it is crucial to our form of

 constitutional governance. Here, the Executive put itself above Congress. It imposed

 a categorical mandate on the spending of congressionally appropriated and obligated

 funds without regard to Congress’s authority to control spending. Federal agencies

 and departments can spend, award, or suspend money based only on the power

 Congress has given to them–they have no other spending power. The Executive has

 not pointed to any constitutional or statutory authority that would allow them to

 impose this type of categorical freeze. The Court is not limiting the Executive’s

 discretion or micromanaging the administration of federal funds. Rather, consistent

 with the Constitution, statutes, and caselaw, the Court is simply holding that the

 Executive’s discretion to impose its own policy preferences on appropriated funds can

 be exercised only if it is authorized by the congressionally approved appropriations

 statutes. Accordingly, based on these principles and the reasons stated below, the

 Court grants the States’ Motion for Preliminary Injunction. ECF No. 67.




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        I.    BACKGROUND

        We begin by restating the American government principles learned during

 critical civics education lessons in our youth. 1 Our founders, after enduring an eight-

 year war against a monarch’s cruel reign from an ocean away, understood too well

 the importance of a more balanced approach to governance. They constructed three

 co-equal branches of government, each tasked with their own unique duties, but with

 responsibilities over the other branches as a check in order to ensure that no branch

 overstepped their powers, upsetting the balance of the fledgling constitutional

 republic. See Kilbourn v. Thompson, 103 U.S. 168, 191 (1880). These concepts of

 “checks and balances” and “separation of powers” have been the lifeblood of our

 government, hallmarks of fairness, cooperation, and representation that made the

 orderly operation of a society made up of a culturally, racially, and socioeconomically

 diverse people possible.

        The three branches of our government—Legislative, Executive, and Judicial—

 derive their power from the United States Constitution; they function together, and

 one branch’s power does not supersede that of another.             “To the legislative

 department has been committed the duty of making laws; to the executive the duty



        1 “This is what it all comes down to: we may choose to survive as a country by

 respecting our Constitution, the laws and norms of political and civic behavior, and
 by educating our children on civics, the rule of law, and what it really means to be an
 American, and what America means. Or, we may ignore these things at our . . .
 peril.” A.C. v. Raimondo, 494 F. Supp. 3d 170, 181 (D.R.I. 2020), aff'd sub nom. A.C.
 by Waithe v. McKee, 23 F.4th 37 (1st Cir. 2022).




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 of executing them; and to the judiciary the duty of interpreting and applying them in

 cases properly brought before the courts.” Massachusetts v. Mellon, 262 U.S. 447, 488

 (1923); see also Wayman v. Southard, 23 U.S. (10 Wheat.) 1, 46 (1825) (Marshall,

 C.J.) (“[T]he legislature makes, the executive executes, and the judiciary construes

 the law”).   Importantly, James Madison wrote that this system prevents “[t]he

 accumulation of all powers, legislative, executive, and judiciary, in the same hands.”

 The Federalist No. 47, at 301 (C. Rossiter ed. 1961). Such an accumulation and

 concentration of power would pose an inherent “threat to liberty.” Clinton v. City of

 New York, 524 U.S. 417, 450 (1998) (Kennedy, J., concurring).

        The Legislative branch, consisting of two Houses of Congress elected by the

 citizens of the states, has the power to levy taxes, finance government operations

 through appropriations, and to set the terms and conditions on the use of those

 appropriations.   U.S. Const. art. I, §§ 8, 9.   Congress also makes laws, and the

 Constitution prescribes a specific procedure for it to follow involving the agreement

 of both the House of Representatives and the Senate and presentment of the final bill

 to the President for signature or veto. U.S. Const. art. I, §§ 1, 7. The President, as

 head of the Executive Branch, may recommend laws for Congress’s consideration,

 including those related to spending. U.S. Const. art. II, §§ 1, 3. Once the bill becomes

 the law, U.S. Const. art. I, § 7, the Constitution imposes on the President a duty to

 “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3. And Article

 III empowers the Judiciary with the “province and duty ... to say what the law is” in




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 particular cases and controversies. Marbury v. Madison, 1 Cranch 137, 5 U.S. 137,

 177 (1803); U.S. Const. art. III, § 2.

        Important to this case is how Congress uses its power to authorize spending to

 support federal programs and activities. One way is through an appropriation, which

 creates the legal authority to “make funds available for obligation” and to make

 “expenditure[s]” for the purposes, during the time periods, and in the amounts

 specified in the law authorizing the appropriations. See 2 U.S.C. § 622(2)(A)(i). An

 “obligation” is a “definite commitment that creates a legal liability of the government

 for the payment of goods and services ordered or received, or a legal duty on the part

 of the United States that could mature into” such a liability; an “expenditure,” also

 known as a “disbursement,” is the actual spending of federal funds. U.S. Gov’t

 Accountability Off., A Glossary of Terms Used in the Federal Budget Process, GAO-

 05-734SP, at 45, 48, 70 (Sept. 2005), https://www.gao.gov/assets/gao-05-734sp.pdf

 (“Budget Glossary”).

        Congress has enacted multiple statutes that affirm its control over federal

 spending.     First, the “purpose statute,” 31 U.S.C. § 1301(a), states that

 “[a]ppropriations shall be applied only to the objects for which the appropriations

 were made except as otherwise provided by law,”—that is, funds can be used only for

 the purposes that Congress has designated. Second, the Antideficiency Act prevents

 agencies from obligating or spending funds absent congressional appropriation. 31

 U.S.C. § 1341. Finally, the Congressional Budget and Impoundment Control Act of

 1974, 2 U.S.C. §§ 681 et seq. (“ICA”), permits the Executive Branch to “impound” (or




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 decline to spend) federal funds only under a very small set of highly circumscribed

 conditions.

        This case also involves the actions of agencies in receipt of statutorily

 appropriated federal funding. “When an executive agency administers a federal

 statute, the agency’s power to act is ‘authoritatively prescribed by Congress.’” City of

 Providence v. Barr, 954 F.3d 23, 31 (1st Cir. 2020) (quoting City of Arlington v. FCC,

 569 U.S. 290, 297 (2013)). “It is no exaggeration to say that ‘an agency literally has

 no power to act ... unless and until Congress confers power upon it.’”          City of

 Providence, 954 F.3d at 31 (quoting La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374

 (1986)).   In this case, there are specific statutory provisions instructing federal

 agencies to provide the States with categorical or formula grants where money is

 allocated on the basis of enumerated statutory factors such as population or the

 expenditure of qualifying state funds. ECF No. 114 ¶ 93. Several examples of these

 formula grants involve funding for Medicaid (42 U.S.C. § 1396(a), highway (23 U.S.C.

 § 104(a)(1), (b), (c)), special education services (the Individuals with Disabilities

 Education Act (“IDEA”), 20 U.S.C. §§ 1400 et seq.), for mental health and substance

 abuse treatment (42 U.S.C. §§ 300x(a), 300x-7(a), 300x-21(a), 300x-33(a)), power and

 heating for low-income residents, (the Low-Income Home Energy Assistance Program

 (“LIHEAP”), 42 U.S.C. § 8621(a)), the Infrastructure Improvement and Jobs Act

 (“IIJA”) (Pub. L. No. 117-58, 135 Stat. 429 (2021)) and Inflation Reduction Act (“IRA”)

 (Pub. L. No. 117-169, 136 Stat. 1818 (2022)) for projects ranging from highways, to

 broadband access, to pollution reduction, to increasing the reliability of the electric




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 grid, and clean water. These statutes direct the agencies to make grants to states for

 enumerated purposes in accordance with congressional policies.

       With this backdrop, the Court moves to the Executive actions that spurred this

 lawsuit.

       A. The President’s Executive Orders and OMB Memorandum M-25-13

       The President issued a series of Executive Orders (“EOs”) in his first eight days

 of office, directing federal agencies to pause and review funding in connection with

 his policy priorities—specifically relating to:

       •    “terminating the Green New Deal” and requiring an immediate pause on
            disbursement of funds appropriated under the IRA or IIJA (“Unleashing
            EO”), ECF No. 68-1;
       •    pausing funding programs relating to “removable or illegal aliens”
            (“Invasion EO”), ECF No. 68-3;
       •    identifying “diversity, equity, inclusion, accessibility” programs, in an effort
            to “Ending Radical and Wasteful Government DEI Programs and
            Preferencing” (“DEI EO”), ECF No. 68-2;
       •    ending federal funding of gender ideology (“Gender EO”), to ensure that
            research or educational grants to medical institutions do not include federal
            funds for transgender medical care (“Gender-Affirming Care EO”), ECF
            Nos. 68-5, 65-8; and
       •    pausing federal foreign aid that is not in line “with the foreign policy of the
            President of the United States” (“Foreign Aid EO”). ECF No. 68-6.

       On January 27, 2025, the Office of Management and Budget’s (OMB) Acting

 Director, Matthew J. Vaeth issued OMB Memorandum M-25-13 (“OMB Directive”),

 entitled “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance

 Programs” to executive departments and agencies’ heads. See ECF No. 68-9. The

 OMB Directive instructed federal agencies to “complete a comprehensive analysis of

 all of their Federal financial assistance programs to identify programs, projects, and

 activities that may be implicated by any of the President’s executive orders.” Id. at 2.



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 Then, the OMB Directive mandated that, in the interim of the comprehensive

 analyses, “Federal agencies must temporarily pause all activities related to obligation

 or disbursement of all Federal financial assistance, and other relevant agency

 activities that may be implicated by the Executive Orders, including, but not limited

 to, financial assistance for foreign aid, nongovernmental organizations, DEI

 [diversity, equality, and inclusion], woke gender ideology, and the green new deal.”

 Id. Agencies had until February 10, 2025 to submit to the OMB “detailed information

 on any programs, projects, or activities subject to this pause.” Id. The OMB Directive

 further noted that the pause would continue “until OMB has reviewed and provided

 guidance” to the agencies in relation to the information submitted to the OMB. Id.

 The pause was set to “become effective on January 28, 2025, at 5:00 PM.” Id.

       B. The States’ Suit, the OMB Directive’s Rescission, and the TRO

       On January 28, the “States”—comprising twenty-two states and the District of

 Columbia—brought suit against the President and the heads of numerous federal

 executive departments and agencies, arguing that their actions to implement the

 OMB Directive violated: (1) the Administrative Procedure Act (“APA”), 5 U.S.C. § 701

 et seq. (Counts I, II); (2) the Separation of Powers (Count III); and the Spending,

 Presentment, Appropriations, and Take Care Clauses of the U.S. Constitution

 (Counts IV, V).   ECF No. 1.     Additionally, the States immediately moved for a

 temporary restraining order (“TRO”) to “restrain the Defendants from enforcing the

 OMB Directive’s directive to ‘pause all activities related to obligation or disbursement

 of all Federal financial assistance.’” ECF No. 3 at 3 (citing OMB Directive at 2). That




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 same day, the U.S. District Court for the District of Columbia issued an

 administrative stay on the OMB Directive until it could hold a hearing on a separate

 motion for a TRO from coalitions of nonprofit organizations. See Nat’l Council of

 Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL 314433 (D.D.C.

 Jan. 28, 2025).

       The next day, a hearing for the TRO motion was set for 3:00 p.m. (Hearing

 Notice Jan. 29, 2025) and the Defendants entered an appearance. ECF No. 39. But

 shortly before the hearing, the Defendants filed a notice stating that the OMB

 rescinded the OMB Directive and that the Plaintiffs’ claims and request for

 prospective relief were now moot. ECF No. 43. Nonetheless, the Court preceded with

 the TRO hearing at the States’ request. During the hearing the States argued against

 mootness, presenting White House Press Secretary Karoline Leavitt’s post-rescission

 announcement on X (formerly Twitter) stating that the federal funding freeze was

 not rescinded and that the President’s EOs remained in full force and effect. See

 Minute Entry Jan. 29, 2025; ECF No. 44; see also ECF No. 68-126 (screenshot of the

 Press Secretary’s X announcement). Feeling inclined to grant a TRO based on the

 evidence before it, the Court requested that the States submit, and the Defendants

 respond, to a proposed TRO order (Minute Entry Jan. 29, 2025)—a request the parties

 promptly complied with, see ECF Nos. 46, 49.

       Based on the Press Secretary’s announcement—along with supplemental

 evidence showing continued enforcement of the OMB Directive—the Court

 determined that the OMB Directive’s rescission was “in name only” and that the




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 “substantive effect of the directive carries on.” ECF No. 50 at 10. Thus, the Court

 found that the OMB Directive’s rescission did not moot the States’ claims and

 ultimately issued a TRO on January 31. See id. at 11-12. The TRO provided that the

 Defendants: “shall not pause, freeze, impede, block, cancel, or terminate [their]

 compliance with awards and obligations . . . to the States . . . except on the basis of

 the applicable authorizing statutes, regulations, and terms” and shall be enjoined

 from “from reissuing, adopting, implementing, or otherwise giving effect to the OMB

 Directive . . ..” Id. 2

         C. TRO Enforcement Order, The Defendants’ Appeal, And The Preliminary
            Injunction Hearing
         A few days after the Court issued the TRO, it set an expedited briefing schedule

 on the States’ Motion for a Preliminary Injunction. See Text Order, Feb. 3, 2025.

 Then, on February 6, the Court extended the TRO’s duration, for good cause, until it

 could rule on the preliminary injunction motion. See Text Order, Feb. 6, 2025. A day

 later, the States filed an emergency motion to enforce the TRO, pointing to evidence

 that their access to federal funds was still being denied. 3 See ECF No. 66. Based on

 the evidence, the Court determined that there were “pauses in funding [that]

 violate[d] the plain text of the TRO” and granted the States’ Motion, ordering the




         2The Court later issued an order on February 10, making clear that the TRO
 also applied to funds paused under the Unleashing EO and the Unleashing Guidance.
 See ECF No. 96.
        3 The States filed another motion to enforce the TRO on February 28, 2025

 relating to FEMA funds that continue to be frozen despite the Court’s TRO and
 subsequent clarifying orders. ECF No. 160. The Court will address that motion later
 in this Order.


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 Defendants to end any federal funding pauses and take steps to carry out the TRO

 during its pendency. ECF No. 96 at 3-4.

       Soon after the Court granted the States’ emergency enforcement motion, the

 Defendants appealed to the First Circuit the Court’s: (1) TRO; (2) order extending the

 TRO’s duration, and: (3) order enforcing the TRO. ECF No. 98 at 1. The Defendants

 sought a stay of the Court’s orders from the First Circuit, including an immediate

 administrative stay. Id. The Defendants also filed a motion to stay, requesting the

 Court to stay its orders pending appeal. ECF No. 100. Ultimately, the First Circuit

 denied the Defendants’ motion for an administrative stay (ECF No. 106 at 2), the

 Court denied the Defendants’ motion to stay (ECF No. 111), and the Defendants then

 voluntarily dismissed their appeal. ECF Nos. 121, 122. In the meantime, the States

 amended their complaint. ECF No. 114.

       Eventually, after an expedited briefing period, the Court held a hearing on the

 preliminary injunction motion where the States presented evidence of the categorical

 pause in funding and the harms resulting. The Defendants did not rebut any of that

 evidence or introduce any evidence of their own but instead simply argued against

 the States’ Motion on other grounds. At the close of the arguments, the Court

 reiterated that the TRO was in full force and effect and took the States’ Motion for

 Preliminary Injunction under advisement.

       II.    STANDARD OF REVIEW

       “A request for a preliminary injunction is a request for extraordinary relief.”

 Cushing v. Packard, 30 F.4th 27, 35 (1st Cir. 2022). “To secure a preliminary



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 injunction, a plaintiff must show ‘(1) a substantial likelihood of success on the merits,

 (2) a significant risk of irreparable harm if the injunction is withheld, (3) a favorable

 balance of hardships, and (4) a fit (or lack of friction) between the injunction and the

 public interest.’” NuVasive, Inc. v. Day, 954 F.3d 439, 443 (1st Cir. 2020) (quoting

 Nieves-Marquez v. Puerto Rico, 353 F.3d 108, 120 (1st Cir. 2003)). In evaluating

 whether the plaintiffs have met the most important requirement of likelihood of

 success on the merits, a court must keep in mind that the merits need not be

 “conclusively determine[d];” instead, at this stage, decisions “are to be understood as

 statements of probable outcomes only.” Akebia Therapeutics, Inc. v. Azar, 976 F.3d

 86, 93 (1st Cir. 2020) (partially quoting Narragansett Indian Tribe v. Guilbert, 934

 F.2d 4, 6 (1st Cir. 1991)). “To demonstrate likelihood of success on the merits,

 plaintiffs must show ‘more than mere possibility’ of success–rather, they must

 establish a ‘strong likelihood’ that they will ultimately prevail.” Sindicato

 Puertorriqueño de Trabajadores, SEIU Local 1996 v. Fortuño, 699 F.3d 1, 10 (1st Cir.

 2012) (per curiam) (quoting Respect Maine PAC v. McKee, 622 F.3d 13, 15 (1st Cir.

 2010)).

       III.   DISCUSSION

       A.     Jurisdiction

       The Defendants assert that the Court lacks jurisdiction to enter preliminary

 relief in this case because: (1) the OMB Directive’s rescission renders the States’

 claims—or at least their request for preliminary relief—moot; and (2) the States have




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 not established standing to challenge the OMB Directive. See ECF No. 113 at 11-22.

 The Court will address each argument in turn.

              1.     Mootness

       The Defendants contend that the States’ claims here are directed only against

 the OMB Directive, and thus the rescission of the OMB Directive renders the States’

 claims moot. Id. at 11. They assert that the States’ allegations of ongoing harms,

 such as continued funding freezes, do not stem from the challenged OMB Directive

 but from actions that are not challenged in the States’ Complaint. Id. at 13. Those

 purportedly unchallenged actions that the Defendants suggest are the true basis for

 the States’ ongoing harms are: (1) independent agency decisions not based on the

 OMB Directive; and (2) the issuance of OBM Memorandum M-25-11 (the “Unleashing

 Guidance”)—which directed agencies to immediately pause certain disbursement of

 funds appropriated under the IRA and the IIJA. 4 Id. at 14-15.

       The OMB Directive’s rescission does not render the States’ claims moot. The

 voluntary cessation doctrine precludes a finding of mootness in this case.         The

 voluntary cessation doctrine gives rise to a mootness exception when the following

 two-part test is met: (1) the defendant voluntarily ceased the challenged conduct to

 moot the plaintiff’s case; and (2) there is a reasonable expectation that the defendant

 will repeat the challenged conduct after the lawsuit’s dismissal. Lowe v. Gagné-



       4 After the Defendants responded to the States’ preliminary injunction motion,

 the States filed an Amended Complaint to explicitly include challenges to the
 Unleashing Guidance, the related Unleashing EO, and the general implementation
 of funding freezes based on the President’s EO. See ECF No. 114 ¶¶ 192, 203-04,
 208-09, 215-17, 225-26, 231-32, 237-38, 244-46.


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 Holmes, 126 F.4th 747, 756 (1st Cir. 2025) (citing Bos. Bit Labs, Inc. v. Baker, 11

 F.4th 3, 9 (1st Cir. 2021)). Here, there was a rescission of the challenged OMB

 Directive, see ECF No. 68-12, but as the Court has previously found, the evidence

 suggests that the OMB Directive’s rescission was in name only and “may have been

 issued simply to defeat the jurisdiction of the courts.” ECF No. 50 at 10. The Court

 made this finding, in part, based on a statement from the White House Press

 Secretary after the OMB Directive’s rescission, stating:

       This is NOT a rescission of the federal funding freeze. It is simply a
       rescission of the OMB memo. Why? To end any confusion created by
       the court’s injunction. The President’s EO’s on federal funding remain
       in full force and effect, and will be rigorously implemented. 5

 ECF No. 68-126; ECF No. 50 at 10-11. The Defendants’ contentions that the sole goal

 of that statement was “ending confusion” and “focusing agencies on the legal effect of

 the President’s recent Executive Orders” are unavailing. ECF No. 113 at 16. The

 Press Secretary’s statement reflects that the OMB Directive’s rescission was a direct

 response to a court-issued stay against the OMB Directive so that the challenged

 federal funding freeze could continue without any judicially-imposed impediment.

 Therefore, the Defendants’ voluntary rescission of the OMB Directive was a clear

 effort to moot legal challenges to the federal funding freeze announced in the OMB

 Directive.




       5  The injunction referenced in the Press Secretary’s statement is the
 administrative stay another federal court issued against the OMB Directive’s
 instructions to agencies to “pause ... disbursement of Federal funds under all open
 awards.” See Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239
 (LLA), 2025 WL 314433, at *2 (D.D.C. Jan. 28, 2025).


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       Nor have the Defendants met their heavy burden of illustrating that it is

 “‘absolutely clear that the allegedly wrongful behavior could not reasonably be

 expected to recur.’” Brown v. Colegio de Abogados de Puerto Rico, 613 F.3d 44, 49

 (1st Cir. 2010) (quoting Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc.,

 528 U.S. 167, 189 (2000)). The Defendants purport that a reinstatement of the

 challenged OMB Directive, absent an injunction, is a fear that is “wholly speculative

 given the existence of the President’s Executive Orders which separately address the

 President’s priorities.” ECF No. 113 at 16.      But nothing suggests that the OMB

 voluntarily abandoned the OMB Directive because they believed that: (1) the

 President’s EOs, alone, sufficiently instructed agencies on how to implement the

 President’s priorities; or (2) the OMB Directive was deficient or exceeded the

 Defendants’ constitutional or statutory authority.      See ECF No. 68-12 (recission

 without explanation). Rather, as explained above, the Press Secretary’s statement

 reflects that the OMB Directive’s rescission was in direct response to litigation that

 impeded the execution of a federal funding freeze. Thus, the rationale underlying the

 OMB Directive’s rescission makes it unreasonable to conclude that the Defendants

 will not reinstate the challenged funding freeze absent an injunction from this Court.

 Accordingly, the States’ challenges are not moot based on the OMB Directive’s

 rescission.

       Next, the Defendants claim that the States’ request for preliminary relief is

 moot because, by rescinding the OMB Directive, the Defendants have “voluntarily

 provided the prospective injunctive relief that the States sought in their Complaint.”




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 ECF No. 113 at 17. Since the Defendants’ submission of their Opposition to the

 States’ Motion for Preliminary Injunction, the States have filed an Amended

 Complaint that clarifies the scope of their claims and requests for relief. See ECF

 No. 114.   The States request that the Court preliminarily enjoin the Agency

 Defendants from implementing “the Federal Funding Freeze” “effectuated through

 EOs, the Unleashing [Guidance], the OMB Directive, and other agency actions . . ..”

 Id. ¶ 246. The States’ request for a preliminary injunction makes clear that they are

 challenging a pause on federal funding that was implemented under not only the

 OMB Directive, but also to the EOs incorporated therein and other agency actions

 such as the OMB’s issuance of the Unleashing Guidance. Thus, the rescission of the

 OMB Directive does not provide the States with all the prospective relief they have

 requested. 6 Accordingly, the States’ preliminary injunction request is not moot.

              2.    Standing

       The Defendants assert that the States lack standing to challenge the OMB

 Directive, particularly with respect to claims based on funding streams that “(1) are

 not within the scope of the OMB Memo; (2) are not managed by any of the Defendant

 agencies; or (3) benefit other States or third parties that are not plaintiffs in this

 case.” ECF No. 113 at 18-19. “To have standing, a plaintiff must ‘present an injury

 that is concrete, particularized, and actual or imminent; fairly traceable to the




       6  Additionally, various funding disruptions that occurred after the Court’s
 TRO—and that continue to the present day—underscore how the Directive’s
 rescission does not suffice as “voluntarily” providing the States all the prospective
 relief they request. See ECF No. 96 at 3.


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 defendant’s challenged behavior; and likely to be redressed by a favorable ruling.’”

 Dep’t of Com. v. New York, 588 U.S. 752, 766 (2019) (quoting Davis v. Fed. Election

 Comm’n, 554 U.S. 724, 733 (2008)). The Defendants contend that the States seek to

 bring five claims against “thousands of various agency funding streams,” and thus

 must demonstrate standing for each claim against each funding stream. ECF No.

 113 at 18. But the States’ claims are not against funding streams. 7 Rather, the

 States’ claims focus on the Defendants’ actions, which seek to inhibit access to

 obligated funds indefinitely and indiscriminately—without reference to statute,

 regulations, or grant terms.

       The States have introduced dozens of uncontested declarations illustrating the

 effects of the indiscriminate and unpredictable freezing of federal funds, which

 implicate nearly all aspects of the States’ governmental operations and inhibit their

 ability to administer vital services to their residents. 8 These declarations reflect at

 least one particularized, concrete, and imminent harm that flows from the federal

 funding pause—a significant, indefinite loss of obligated federal funding. And such



       7 Even if the States’ claims were targeted at these “thousands” of funding

 streams, their inability to feasibly take a program-by-program, grant-by-grant
 approach to raising their challenges is the consequence of the Defendants’ broad,
 sweeping efforts to indefinitely stop nearly all faucets of federal funding from flowing
 to carry out the President’s policy priorities, without regard to Congressional
 authorizations. One cannot set one’s house on fire and then complain that the
 firefighters smashed all the windows and put a hole in the roof trying to put it out.
        8 See e.g., ECF Nos. 68-99 ¶ 11, 12; 68-18 ¶¶ 17-19; 68-102 ¶¶ 4-6 (effects on

 public safety and emergency management services); 68-31 ¶¶ 6, 7; 68-32 ¶ 13 (effects
 on health care services); 68-75 ¶¶ 6-8; 68-76 ¶ 5; 68-89 ¶ 5 (effects on State education
 services); 68-113 ¶¶ 45, 60-61; 68-95 ¶¶ 8-13; 66-123 ¶¶ 5, 29 (effects on
 environmental safety and energy development); 68-76 ¶¶ 7-19; 68-86 ¶¶ 9-10; 68-116
 ¶¶ 15-16, 21 (effects on childcare services and child welfare).


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 a harm is fairly traceable to the Defendants’ conduct via their acts to implement a

 widespread federal funding pause under the OMB Directive, the EOs incorporated

 therein, and the Unleashing Guidance. Granting this Motion in the States’ favor will

 more than likely redress their injuries because it would inhibit the abrupt, indefinite

 pause of obligated federal funds on which the States rely to administer vital services

 to their residents. Accordingly, the States have the requisite standing to challenge

 the federal funding freeze.

       Now that the Court has jumped over these initial hurdles, it moves to

 resolution of the States’ preliminary injunction motion.

       B.     Likelihood of Success on the Merits

              1. Administrative Procedure Act Claims

       The States assert that the Agency Defendants’ 9 implementation of the federal

 funding freeze, without regard to relevant authorizing statutes and regulations,

 violates the Administrative Procedure Act (“APA”) because such actions violate the

 law, are ultra vires, and arbitrary and capricious. ECF No. 67 at 52 (citing 5 U.S.C.

 § 706(2)(A)). To begin, the Court must address the Defendants’ arguments that the

 States’ APA claims do not fall within the Court’s subject matter jurisdiction.

                     a. Final Agency Action

       The APA allows judicial review of “final agency action for which there is no

 other adequate remedy in a court.” 5 U.S.C. § 704. An agency action is “final” if: (1)




       9 “Agency Defendants” refers to the federal executive agencies and
 departments that are parties in this suit.


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 it marks the “‘consummation’ of the agency’s decisionmaking process,” and (2) the

 action determines rights or obligations or creates legal consequences. Harper v.

 Werfel, 118 F.4th 100, 116 (1st Cir. 2024) (citing Bennett v. Spear, 520 U.S. 154, 177

 (1997)).

       The States identify: (1) the OMB Directive itself; and (2) the Agency

 Defendants’ implementation of a categorical federal funding freeze, under the OMB

 Directive and Section 7(a) of the Unleashing EO, as final agency actions. ECF No. 67

 at 53. The Defendants contend that the OMB Directive and other “guidance” about

 implementing the President’s priorities are not final agency actions because the OMB

 Directive did not determine which funds or grants should be paused but required

 agencies to make such a determination under their respective authorities. ECF

 No. 113 at 28.

       To suggest that the challenged federal funding freezes were purely the result

 of independent agency decisions rather than the OMB Directive or the Unleashing

 Guidance is disingenuous. Recall that the OMB Directive informed agencies that

 they “must complete a comprehensive analysis of all of their Federal financial

 assistance programs to identify programs, projects, and activities that may be

 implicated by any of the President’s executive orders.” ECF No. 68-9 at 2. The OMB

 Directive mandated that “[i]n the interim” of these comprehensive analyses, “Federal

 agencies must temporarily pause all activities related to obligation or disbursement

 of all Federal financial assistance, and other relevant agency activities that may be

 implicated by the executive orders . . ..” Id. (second emphasis added). Elsewhere, the




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 OMB Directive emphasized that “[e]ach agency must pause . . . disbursement of

 Federal funds under all open awards.” Id.

       The record makes clear that following the OMB Directive’s issuance—and even

 before it was set to take effect—many of the States found themselves unable to draw

 down appropriated and awarded funding because they were completely shut out from

 accessing federal funding payment portals such as the Payment Management

 Services (“PMS”). 10 As the States highlight, such a wholesale shutdown does not

 suggest that agencies made individualized assessments of their statutory authorities

 and relevant grant terms before making the determination to blanketly pause access

 to obligated funds. 11 And how could these agencies make such assessments? The

 OMB Directive explicitly stated that the “temporary funding pause will become

 effective on January 28, 2025, at 5:00 PM”—a mere day after the Directive was




       10 See e.g., ECF Nos. 68-100 ¶ 8 (Oregon unable to access Medicaid federal

 funding system for entire day on January 28); 68-93 ¶ 6 (New York State Comptroller
 Office unable to draw over $70 million in obligated federal funds); 68-118 ¶ 18
 (Washington’s DCYF unable to draw down funds on morning of January 28—faced
 with message from federal payment system stating, “Temporary Pause on
 Disbursement of Federal Financial Assistance”); 68-55 ¶¶ 27-28 (New York’s DCFS
 unable to draw down funds from PMS on morning January 28—faced with message
 stating: “Due to [EOs] regarding potentially unallowable grant payments, PMS is
 taking additional measures to process payments. Reviews of applicable programs and
 payments will result in delays and/or rejections of payments.”).
        11 While the Defendants claim that the Directive and the EOs required the

 agencies to pause funding and impose restriction on obligated funds consistent with
 the law, the undisputed evidence before the Court is that adding the “consistent with
 the law” caveat was nothing more than window dressing on an unconstitutional
 directive by the Executive. This is clear because when the Court clarified its TRO,
 when faced with evidence that the Defendants continued to freeze obligated funding,
 the money flowed once again.



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 issued. Id. As another court faced with a similar challenge to the OMB Directive

 underscored “it is unclear whether twenty-four hours is sufficient time for an agency

 to independently review a single grant, let alone hundreds of thousands of them.”

 Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL

 368852, at *8 (D.D.C. Feb. 3, 2025). Overall, the OMB Directive amounted to a

 command, not a suggestion, that Agency Defendants shall execute a categorical,

 indefinite funding freeze to align funding decisions with the President’s priorities.

 Such a command, along with the Agency Defendants swift actions to execute the

 categorical   funding   freeze,    marked   the   “consummation   of   each   agency’s

 decisionmaking process to comply with the President’s executive order, the OBM

 [Directive], or both.” Drs. for Am. v. Off. of Pers. Mgmt., No. CV 25-322 (JDB), 2025

 WL 452707, at *5 (D.D.C. Feb. 11, 2025).

       The same analysis applies to the Agency Defendants’ acts implementing

 funding pauses under Section 7(a) of the Unleashing EO and the OMB’s Unleashing

 Guidance.     The Unleashing Guidance largely reiterates the Unleashing EO’s

 instruction that agencies immediately pause disbursements of funds under the IRA

 or IIJA and does not even attempt to allow for agency discretion. 12 See ECF No. 68-

 13 at 2.    And agencies, such as the Department of Energy (DOE) and the U.S.

 Department of Agriculture acted quickly to implement the pause of appropriated IIJA




       12 The most that the Unleashing Guidance advances is an attempt to limit the

 pause of IRA/IIRA to only to “funds supporting programs, projects, or activities that
 may be implicated by the policy established in section 2 of the [Unleashing] order.”
 See ECF No. 68-13.

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 and IRA funds. See ECF Nos. 68-123 ¶¶ 33, 36, 37; 68-92 ¶¶ 14-15. Thus, the

 implementation of those IIJA and IRA funding pauses likely marked the

 consummation of each agency’s decision to comply with the Unleashing EO, the

 Unleashing Guidance, or both, not to exercise its discretion.

       As to the second finality factor, the evidentiary record sufficiently shows that

 the abrupt, categorical, and indefinite pause of obligated federal funds is the direct,

 appreciable legal consequence that States have suffered from the Agency Defendants’

 actions implementing the funding pauses commanded in the OMB Directive and the

 Unleashing EO. Accordingly, the Agency Defendants’ actions suffice as “final agency

 action” as to permit the Court’s judicial review of such actions under the APA.

       Returning to the merits, the Court must decide whether the States are likely

 to succeed on their claim that the Defendants’ implementation of the federal funding

 freeze was contrary to law, ultra vires, and arbitrary and capricious. Under the APA,

 a court must “hold unlawful and set aside agency action, findings, and conclusions” if

 they are “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

 with law.” 5 U.S.C. § 706(2)(A). Because this standard is “quite narrow: a reviewing

 court ‘may not substitute its judgment for that of the agency, even if it disagrees with

 the agency’s conclusions.’”   Atieh v. Riordan, 797 F.3d 135, 138 (1st Cir. 2015)

 (quoting River St. Donuts, LLC v. Napolitano, 558 F.3d 111, 114 (1st Cir. 2009)).

 Therefore, a reviewing court must uphold an agency’s decision if it is: (1) devoid of

 legal errors; and (2) “supported by any rational review of the record.” Mahoney v. Del

 Toro, 99 F.4th 25, 34 (1st Cir. 2024) (quoting Atieh, 797 F.3d at 138). The Court will




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 first discuss whether the Defendants’ actions were contrary to law and then turn to

 whether such acts were arbitrary and capricious.

                    b. Contrary to Law and Ultra Vires Actions

       The States assert that the Defendants acted contrary to law and exceeded their

 statutory authority when imposing the challenged federal funding freeze. “When an

 executive agency administers a federal statute, the agency’s power to act is

 ‘authoritatively prescribed by Congress.’” City of Providence v. Barr, 954 F.3d 23, 31

 (1st Cir. 2020) (quoting City of Arlington v. FCC, 569 U.S. 290, 297 (2013)).

 Therefore, “an agency literally has no power to act ... unless and until Congress

 confers power upon it.” Id. (quoting La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355,

 374, (1986)). Any action an agency takes that is beyond the limits of its statutory

 authority is ultra vires and violates the APA. Id.

       The statutory scheme governing federal appropriations are at the forefront of

 the States’ ultra vires and “contrary to law” claims against the Agency Defendants.

 The States contend that the ICA 13 permits the Executive to defer or decline the

 expenditure of appropriated federal funds only under certain limited conditions that

 are not present here. See ECF No. 67 at 45, 54-55. They highlight that such an

 expenditure deferral cannot be made based on policy reasons but only on the



       13 The Defendants assert that because the ICA does not provide for a private

 right of action, the statute is “generally not enforceable through an APA suit.” ECF
 No. 113 at 44 (citing Gen. Land Off. v. Biden, 722 F. Supp. 3d 710, 734-35 (S.D. Tex.
 2024)). The Court declines to adopt such a narrow view of what it may consider when
 determining whether an agency has acted “not in accordance with law” under the
 APA. In the Court’s view, “not in accordance with law,” refers to “any law.” F.C.C. v.
 NextWave Pers. Commc’ns Inc., 537 U.S. 293, 300 (2003).

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 permissible bases listed under the ICA. See id. at 54 (citing 2 U.S.C. § 684(b)); Mem.

 of Gen. Accountability Off., Office of Management and Budget—Withholding of

 Ukraine Security Assistance, B-331564, at 6 (Jan. 16, 2020), https://perma.cc/6TMT-

 3CH2. The States also note that the ICA requires the Executive to send a “special

 message” to Congress explaining proposed deferrals. Id. at 55 (2 U.S.C. § 684(a)).

 Thus, the States argue that the federal funding freeze exceeded the Defendants’

 authority and contravened the ICA because: (1) the freeze, or deferral, was

 impermissibly based on “policy disagreement with Congressional priorities;” and (2)

 the Executive failed to send the required “special message” to Congress detailing the

 numerous proposed deferrals.

       The ICA provides that “[w]henever the President, the Director of the [OMB],

 [or] the head of any [U.S.] department or agency . . . proposes to defer any budget

 authority provided for a specific purpose or project,” the President must send a

 “special message” to Congress detailing the proposed deferrals. 2 U.S.C. § 684(a). A

 “deferral of budget authority” includes: (1) “withholding or delaying the obligation or

 expenditure of budget authority . . . provided for projects or activities;” or (2) “any

 other type of Executive action or inaction which effectively precludes the obligation

 or expenditure of budget authority . . ..” Id. § 682(1)(A), (B). Further, the ICA

 enumerates only three bases in which a deferral is permissible: (1) “to provide for

 contingencies;” (2) “to achieve savings made possible by or through changes in

 requirements or greater efficiency of operations;” or (3) “as specifically provided by




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 law.” Id. § 684(b). “No officer or employee of the United States may defer any budget

 authority for any other purpose.” Id. (emphasis added).

       Here, the OMB Directive and Section 7(a) of the Unleashing EO, constituted a

 budget authority deferral because it commanded—and prompted—an indefinite

 withholding or delay of obligated funds. 2 U.S.C. § 682(1)(A). Thus, under the law,

 the President was required to send a special message to Congress detailing the

 proposed deferrals, such as the amounts deferred, the proposed deferral period, and

 the programs involved. See id. § 684(a). There is no evidence that such a special

 message detailing the indefinite, widespan deferrals of obligated funding was ever

 communicated to Congress. Accordingly, the States have substantiated a likelihood

 of success in proving that the Executive’s actions were contrary to law when bringing

 about a deferral of budget authority without sending a special message to Congress

 as the ICA requires.

       The States also raise that “the Funding Freeze violates the specific statutes in

 which Congress mandated that funding be used in a specific manner according to

 specific terms.” ECF No. 67 at 55. They assert that many federal funding streams

 are so-called “categorical” or “formula” grants that Congress directed the Executive

 to provide to the States based on “enumerated statutory factors, such as population

 or the expenditure of qualifying State funds.” Id. (citing City of Los Angeles v. Barr,

 941 F.3d 931, 934-35 (9th Cir. 2019)). Thus, the States contend that Congress’s

 specific directives in the statutory and regulatory schemes that govern such “formula”




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 funding streams are inconsistent with the sweeping authority the Defendants have

 asserted in carrying out the federal funding freeze. Id. at 48, 55-56.

        The States have underscored clear examples in which Congress has

 appropriated funds to federal programs and has strictly prescribed how those funds

 must be expended. For example, the IIJA appropriated over $14 billion in grants for

 the States’ Clean Water revolving funds from 2022 to 2026. IIJA, Pub. L. No. 117-58,

 § 50210, 135 Stat. 429, 1169 (2021).      Those funds are a creature of a separate

 statute—the Federal Clean Water Act—which instructs the Environmental

 Protection Agency (“EPA”) that it “shall make capitalization grants to each State,”

 via formula grants, to establish and support water pollution control revolving funds

 for certain enumerated objectives and policy goals. 33 U.S.C. §§ 1381(a), (b); 1383(c);

 1384(a), (c)(2).

        Additionally, the IRA established a program to subsidize heat pump systems

 purchases, instructing the DOE Secretary that they “shall reserve funds . . . for each

 State energy office” based on an allotment formula. 42 U.S.C. § 18795a(a)(2)(A)(i)

 (emphasis added).    Further, a climate pollution reduction grant under the IRA

 directed that the EPA “shall make a grant to at least one eligible entity in each State

 for the costs of developing a plan for the reduction of greenhouse gas air pollution . .

 ..” 42 U.S.C. § 7437(b). Congress has instructed other agencies to provide the States

 with federal funding using a mandatory fixed formula. See e.g., 23 U.S.C. § 104(a)(1),

 (b), (c) (instructing that the Transportation Secretary “shall” distribute federal

 highway funds based on mandatory apportionment formulas); 42 U.S.C. §§ 300x(a),




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 300x-7(a), 300x-21(a), 300x-33(a) (directing that the Health and Human Services

 Secretary “shall make” or “shall determine the amount of” grants to States for mental

 health and substance abuse treatment based on fixed statutory formulas).

       These are a few examples of funding streams where Congress has mandated

 that the Executive spend appropriated funds according to a prescribed statutory

 formula, thus leaving agency Secretaries with no discretion to deviate from such

 formula. See ECF No. 67 at 6-11, 48-50; see also ECF No. 147 at 9-10. Yet the

 Agency Defendants halted the disbursement of these formula grants when freezing

 appropriated funds to ensure spending conformed with the President’s policy

 priorities. See e.g., ECF Nos. 68-35 ¶ 20 (California’s Water Resources Control Board

 unable to draw down funds under existing Clear Water State Revolving Funds grant

 agreements on January 31); 68-123 ¶ 4, 9 (Colorado unable to draw down funds for

 the IRA climate pollution reduction grant); see also ECF No. 68-124 at 2 (DOE

 memorandum announcing that “[a]ll funding and financial assistance . . . shall not be

 announced, approved, finalized, modified, or provided until a review of such takes

 place to ensure compliance with . . . Administration policy.”).

       But “[a]bsent congressional authorization, the Administration may not

 redistribute or withhold properly appropriated funds in order to effectuate its own

 policy goals.” City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1235 (9th Cir.

 2018). There is sufficient evidence that, in implementing the funding freeze, the

 Agency Defendants withheld funding that Congress did not tie to compliance with

 the President’s policy priorities in the OMB Directive and the Unleashing EO.




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 Accordingly, the States have substantiated a likelihood of success on the merits that

 the Agency Defendants acted “not in accordance with the law”—in violation of the

 APA—when exceeding their statutory authority to carry out a categorical federal

 funding freeze. 5 U.S.C. § 706(2)(A).

                     c. Arbitrary and Capricious

       Next, the States argue that the challenged federal funding freeze is arbitrary

 and capricious because it is not “reasonable or reasonably explained.” ECF No. 67

 at 56 (quoting Fed. Commc’ns Comm’n v. Prometheus Radio Project, 592 U.S. 414,

 423 (2021)).   The States assert that the Agency Defendants did not provide a

 satisfactory explanation for the funding freeze and explained only that the freeze was

 aimed at helping the President achieve his policy priorities. ECF No. 67 at 56. The

 States contend that achieving such priorities “cannot come in the form of an across-

 the-board directive that contravenes numerous statutory provisions without

 explanation of how that action comports with applicable statutory or regulatory

 commands or factors relevant under those authorities.” Id. Further, the States allege

 that the Defendants disregarded the harmful consequences of the funding freeze,

 particularly the danger to “critical services [upon which] millions of Americans rely.”

 Id. at 56-57. Lastly, the States argue that the freezing of all funds appropriated

 under the IRA and the IIJA was substantively unreasonable because it lacks support

 in law and contravenes statutory text. Id. at 57.

       The Defendants counter that the OMB Directive adequately explained the

 goals of the funding freeze, which was “to effectuate the President’s Executive Orders




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 and ‘safeguard valuable taxpayer resources.’” ECF No. 113 at 57 (citing OMB

 Directive at 1). Further, the Defendants assert that the OMB Directive rationally

 connected the temporary pause to those stated objectives when explaining that the

 pause was needed to give “the Administration time to review agency programs and

 determine the best [funding uses] consistent with the law and the President’s

 priorities.” Id. at 57-58 (citing OMB Directive at 2). They highlight that the OMB

 Directive explicitly orders agencies to act “consistent with the law” six times and thus

 agencies were not directed to contravene their statutory authorities. Id. at 58.

       Moreover, the Defendants argue they did consider important aspects of the

 problem because the OMB Directive highlighted the problem—the “significant

 amount of money” spent each year on financial assistance—and merely directed

 agencies to assess the problem by reviewing which assistance may be impacted by

 the President’s order. Id. Additionally, they assert that they considered the practical

 consequences that would flow and took steps to mitigate them because the OMB

 Directive: (1) exempted assistance provided directly to individuals from the pause; (2)

 noted that the OMB could grant exceptions on a case-by-case basis; (3) directed only

 a temporary pause; and (4) provided a delayed effective date. Id. at 58-59.

       A decision is arbitrary and capricious “if the agency has relied on factors which

 Congress has not intended it to consider, entirely failed to consider an important

 aspect of the problem, offered an explanation for its decision that runs counter to the

 evidence before the agency, or is so implausible that it could not be ascribed to a

 difference in view or the product of agency expertise.’” Melone v. Coit, 100 F.4th 21,




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 29 (1st Cir. 2024) (Craker v. DEA, 714 F.3d 17, 26 (1st Cir. 2013)). The Court finds

 that the Defendants have not provided a rational reason that the need to “safeguard

 valuable taxpayer resources” is justified by such a sweeping pause of nearly all

 federal financial assistance with such short notice. Rather than taking a deliberate,

 thoughtful approach to finding these alleged unsubstantiated “wasteful or fraudulent

 expenditures,” the Defendants abruptly froze billions of dollars of federal funding for

 an indefinite period. It is difficult to perceive any rationality in this decision—let

 alone thoughtful consideration of practical consequences—when these funding

 pauses endanger the States’ ability to provide vital services, including but not limited

 to public safety, health care, education, childcare, and transportation infrastructure.

 See ECF No. 67 at 24-34, 58-61.

       Further, the mere twenty-four hours that the OMB gave agencies to discern

 which of thousands of funding freezes must or must not be paused flouts the

 Defendants’ arguments that either the “delayed” effective date or the “consistent with

 the law” instruction mitigated the harm that the pause caused. The OMB Directive

 essentially ordered agencies to effectuate the blanket pause and then decide later

 which funding streams they actually had lawful authority to withhold. See e.g., ECF

 No. 68-55 ¶¶ 27-28 (New York’s Office of Children and Family Services unable to

 draw down funds from PMS on morning January 28—faced with message stating:

 “Due to [EOs] regarding potentially unallowable grant payments, PMS is taking

 added measures to process payments. Reviews of applicable programs and payments

 will result in delays and/or rejections of payments.”). Again, the Defendants have not




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 proffered a rational reason for how their alleged goal of safeguarding taxpayer funds

 justified a de facto suspension of nearly all federal funding. Thus, the States have

 substantiated a likelihood of success of proving that the Agency Defendants’

 implementation of the funding freeze was arbitrary and capricious.

        Further, the Agency Defendants’ categorical freeze of funding appropriated

 under the IRA and IIJA is also likely substantively unreasonable in violation of the

 APA.    Generally, substantive unreasonableness may arise when an agency

 “exercise[s] its discretion unreasonably.” Multicultural Media, Telecom & Internet

 Council v. Fed. Commc’ns Comm’n, 873 F.3d 932, 936 (D.C. Cir. 2017) (Kavanaugh,

 J.). As discussed above, the IRA and IIJA appropriated funds to certain programs

 and funding streams that mandated expenditures based on fixed formulas—not the

 contravening policies of the President. Based on the record, the Agency Defendants

 implemented sweeping pauses of IRA/IIJA appropriated funds—under the OMB

 Directive and Unleashing EO—despite various fundings streams being governed by

 statutory commands that did not give discretion to withhold funds based on the policy

 initiatives the Executive sought to further. See e.g., ECF Nos. 48-1 ¶¶ 4-5 , 68-124

 at 2; 68-123 ¶¶ 6-10, 26; 68-123 ¶ 36; 68-92 ¶ 15. Thus, the States have substantiated

 a likelihood of success on illustrating that the Agency Defendants unreasonably

 exercised its discretion, in violation of the APA, when broadly freezing IRA/IIJA

 appropriated funds in contravention of the underlying statutory funding commands.

        In sum, the Agency Defendants have failed to offer rational reasons for finding

 that the policy objectives stated in the OMB Directive and Section 2 of Unleashing




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 EO justified the indefinite pause on nearly all federal funding. The breadth and

 immediacy of the funding freeze and the catastrophic consequences that flowed

 reflects the Agency Defendants’ failure to: (1) meaningfully consider the “important

 aspect[s] of the problem[s]”—namely the plain implications of withholding trillions of

 dollars of federal financial assistance; and (2) reflect if the freeze fell within the

 bounds of their statutory authority. Accordingly, the States have shown a likelihood

 of success on their APA claims (Counts I and II). The Court “need go no further.” 14

 It turns now to whether the States satisfy the other requirements for injunctive

 relief. 15

         C.    Irreparable Harm

         “District courts have broad discretion to evaluate the irreparability of alleged

 harm and to make determinations regarding the propriety of injunctive relief.” K–

 Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 915 (1st Cir. 1989) (quoting Wagner

 v. Taylor, 836 F.2d 566, 575–76 (D.C. Cir. 1987)). There are “relevant guideposts” to

 guide that discretion—“the plaintiff’s showing must possess some substance” and “the

 predicted harm and the likelihood of success on the merits must be juxtaposed and

 weighed in tandem.” Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 19



         14 The Honorable Bruce M. Selya’s body of over 1800 written opinions, passim.
         15 Under the constitutional avoidance doctrine, “federal courts are not to reach

 constitutional issues where alternative grounds for resolution are available.”
 Vaquería Tres Monjitas, Inc. v. Pagan, 748 F.3d 21, 26 (1st Cir. 2014) (quoting Am.
 Civil Liberties Union v. U.S. Conference of Cath. Bishops, 705 F.3d 44, 52 (1st Cir.
 2013)). Thus, because the Court finds the challenged agency actions violate the APA,
 the Court will not decide the States’ constitutional claims (Counts IV-VIII), although
 the Court has noted in its introduction to this decision that the constitutional balance
 of powers issues that arise from the Executive’s actions in this case are serious.


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 (1st Cir. 1996) (citations omitted). The Court found at the TRO stage that the States

 would suffer irreparable harm if the Defendants’ blanket freeze of appropriated and

 obligated funds, which currently has no end date, were not enjoined. After a full

 briefing and hearing on the merits where the Defendants presented no answer, no

 evidence, and no counter to the States’ extensive evidence of still frozen funds and

 the harm resulting, the Court finds that the unrefuted evidence shows irreparable

 and continuing harm.

       In their Complaint, preliminary injunction motion, and during the argument

 thereon, the States laid out scores of examples of obligated funding and the harm that

 withholding such funding has caused. It is so obvious that it almost need not be

 stated that when money is obligated and therefore expected (particularly money that

 has been spent and reimbursement is sought) and is not paid as promised, harm

 follows—debt is incurred, debt is unpaid, essential health and safety services stop,

 and budgets are upended. And when there is no end in sight to the Defendants’

 funding freeze, that harm is amplified because those served by the expected but

 frozen funds have no idea when the promised monies will flow again.

       Defendants concede that there is no date written into the EOs or the OMB

 Directive or instructions when the freeze will end but argues that the funding

 recipients can be assured that it will end eventually, presumably when the agencies

 have reviewed all of the funding and made decisions about whether any or all or some

 align with how the President wants that money spent. The States are not reassured

 by this vague promise, and neither is the Court. This is particularly true where the




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 States had no notice of a potential freeze so they could plan, States appear to have

 little to no information about how any funding review is being conducted and by

 whom, and even though the frozen funds were obligated and owed, States had no

 chance to justify and protect the funding that they were granted by statute,

 regulation, or grant contract. See, e.g., ECF Nos. 68-28 (receiving no response from

 EPA officials to inquiry about grants missing from ASAP); 68-33 (same). As the Court

 observed, these arbitrary and capricious actions violate the APA, with consequences

 that harm not only to our orderly system of government but also inflict direct

 pecuniary harm to the States and their residents.

       The States have presented unrebutted evidence of the harm they are suffering

 and will continue to suffer due to this categorical funding freeze. The Court will not

 recount each instance but will summarize the “highlights” and note that while the

 States are the plaintiffs in this Court, it is their citizens, often our most vulnerable

 citizens, who are enduring much of the harm resulting from these arbitrary and

 capricious acts. The Court makes the following factual findings based on the record

 evidence.

       Head Start and other childcare programs have been impacted.                As of

 February 5, 2025, many Head Start providers were still having difficulties accessing

 federal funds and are considering layoffs, reductions in service, and even closures.

 See ECF Nos. 68-76; 68-41.      Some States would have to pay more in provider

 subsidies if federally-funded Head Start childcare does not resume. ECF No. 68-111.




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 Other federally-funded childcare, child welfare services, and early childhood services

 are impacted. See ECF Nos. 68-76; 68-36; 68-86; 68-116; 68-55; 68-68; 69-39; 68-43.

       A freeze in federal funding for education “would catastrophically disrupt

 student instruction[,]” including for low-income students and children with

 disabilities. ECF No. 68-89 ¶ 8; see also ECF Nos. 68-75; 68-43; 68-116. A freeze

 impacts state universities who receive federal funding who may be forced to stop vital

 research projects. “Even a temporary pause in funding could require the University

 to shutter or reduce programs, including mission-critical research activities,

 instruction, and public service activities and to furlough and/or lay off employees.”

 ECF Nos. 68-112 ¶ 7; 68-121 ¶ 7 (“Research projects that require daily activities and

 meticulous record-keeping may be ruined, setting back the research enterprise and

 wasting the federal investment.”).

       This funding freeze affects critical healthcare provided through federally-

 funded Medicaid programs, the Children’s Health Insurance Program (“CHIP”), and

 other health care programs. ECF Nos. 68-31, 68-32; 68-74; 68-105; 68-24. Loss of

 Medicaid funding would “significantly impede the delivery of basic health care

 services to . . . low-income, elderly, and pregnant individuals, as well as individuals

 with disabilities.” ECF No. 68-32 ¶ 13.

       The funding freeze also impacts law enforcement and public safety agencies

 who also rely on federal funding. Federal grant programs support state and local law

 enforcement agencies, community violence, and crisis interruption programs, and

 programs addressing sexual violence, among many other crucial services.           ECF




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 Nos. 68-102, 68-18. In an evident and acute harm, with floods and fires wreaking

 havoc across the country, federal funding for emergency management and

 preparedness would be impacted. ECF Nos. 68-111; 68-39. To be sure “[i]f a major

 disaster were to occur while federal emergency management funds . . . are frozen. . .

 [p]ending preparedness training and mitigation work may come to a stop and the

 incapacitation of federally-funded emergency management programs and services

 that would result from a federal funding freeze could very well lead to increased loss

 of life and injury …, slowed emergency response times, greater risks to first

 responders, greater property damage, and delays to community recovery and

 rebuilding.” ECF No. 68-99 ¶ 13.

        The freeze affects job training, workforce development, and unemployment

 programs and the ripple effect of cutting off this funding is felt throughout the States.

 ECF Nos. 68-94; 68-54; 68-70; 68-104; 68-39; 68-88; see ECF No. 68-29 ¶ 27 (harms

 to veterans seeking to acquire job skills and employment, and others seeking career

 and employment training services, reduced level of service in processing and

 approving unemployment insurance claims and paying out unemployment insurance

 benefits);   ECF No. 68-30 ¶ 13 (harms to workers seeking to participate in job

 apprenticeship programs).

        The freeze also affects federal funds for critical transportation infrastructure,

 such as the $60 million in promised reimbursement for the costs of removal and

 salvage of debris from the Francis Scott Key Bridge for which Maryland is awaiting.

 ECF No. 68-66 ¶¶ 5-7 . Other States have likewise entered into contracts for projects




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 to be paid for with obligated funds. ECF Nos. 68-77; 68-31; 68-66; 68-80; 68-39.

 Without these funds, States may have to suspend, delay, or cancel projects. ECF

 No. 68-77.

       IIJA and IRA funding programs are subject to the freeze and threaten the loss

 of essential services to protect the health, safety, and welfare of the States’ residents.

 See, e.g., ECF No. 68-28 (California Air Resource Board unable to access granted

 federal funding aimed at monitoring air toxins); ECF No. 68-42 (frozen funds include

 those awarded to South Coast Air Quality Management District for programs

 reducing air pollution from freight corridors and warehousing hubs); ECF No. 68-113

 (funding freeze threatens to pause important contamination remediation efforts;

 contracted-for brownfield cleanup work being “held up” by funding freeze); ECF

 No. 68-106 (frozen funds designated for monitoring of air pollution); ECF No. 68-92

 (New York State Department of Environmental Conservation denied funding

 reimbursement for plugging of orphaned oil and gas wells due to alleged inconsistency

 with OMB’s Unleashing Guidance).

       Congress enacted these statutes and appropriated these funds for legitimate

 reasons, and the Defendants’ categorical freeze, untethered to any statute,

 regulation, or grant term, frustrates those reasons, and causes significant and

 irreparable harms to the States. See, e.g., ECF No. 68-118 (pause in funding streams

 would have “massive impact,” require resource shifts, and interfere with mission);

 ECF No. 68-59 (without grant funding, “small public water systems … will continue

 to rely on drinking water polluted by PFAs and/or other emerging contaminants,”




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 cleanup of oil and hazardous materials contamination in post-industrial communities

 would likely be abandoned, and state efforts to monitor and mitigate air pollution

 would be hampered); ECF No. 68-83 (“North Carolina will lose the benefits of over

 $117 million in conservation projects” if the freeze is not lifted, leaving its residents

 “more vulnerable to flooding and wildfires.”); ECF No. 68-40 (state would have to

 regain trust of contractors and homeowners after reimbursement delays); ECF

 No. 68-122 (funding freeze causes uncertainty, harming Colorado’s ability to provide

 services to Coloradans relying on federal funds for installation of energy-saving

 appliances; continued delay will cause homeowners to forfeit improvements to homes

 that would cut energy bills); ECF No. 68-95 (freezing of IIJA Grid Resilience

 Innovations Partnerships funding in New York will delay electric grid resilience

 improvements, “potentially increasing the risk of damage to the grid in a severe

 weather event and causing additional harm to small municipal electric utilities.”);

 ECF No. 68-59 (pause in Long Island Sound Program Grant would impede

 remediation of nitrogen and other pollution); ECF No. 68-79 (frozen $25 million grant

 funds for replacing lead service lines to residential homes “put[s] the safety of

 Minnesotans’ drinking water at risk”); ECF No. 68-31 (health care, emergency relief,

 highway safety, and billions of dollars in water infrastructure, transportation, and

 broadband infrastructure projects); ECF No. 68-30 (federal funding pause could

 render California government entities unable to deliver numerous services to

 increase workplace health and safety); ECF No. 68-35 (interruption in funding

 threatens California Water Board’s ability to come into compliance with federal safe




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 drinking water standards, including ongoing work to remove lead from water service

 lines).

           Even though some funding has begun to flow again after the TRO entered, the

 States have presented evidence of harm resulting from the chaos and uncertainty

 that the Defendants’ arbitrary decision to categorically freeze billions of dollars in

 federal funding.     See, e.g., ECF Nos. 68-40; 68-44 (Connecticut’s Department of

 Energy and Environmental Protection “unable to recruit and hire future staff” to

 support Solar for All Program due to “budgetary uncertainty”); 68-107 (uncertainty

 has led Brown University’s research community to suspend orders of large research

 equipment, which over time will negatively impact the ability of researchers to

 conduct their studies); 68-85 (uncertainty surrounding funding forcing New Jersey

 Board of Public Utilities to decide between delaying Solar for All Program or risking

 no reimbursement); 68-27 (uncertainty over grants has disrupted California agency’s

 “ability to budget, plan… and carry out its mission”); see also Nat’l Council of

 Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL 597959, at *18

 (D.D.C. Feb. 25, 2025) (“While funds have resumed flowing to some recipients, that

 does not erase the imminence or irreparability of what another pause would entail.”).

           Even with the Court’s TRO in place, state agencies continue to experience

 interruptions to access and inconsistent ability to draw down funds from grants

 funded by IIJA and IRA appropriations. Some funding has been restored in federal

 funding portals, but others appear to have been removed. See, e.g., ECF Nos. 68-28;

 68-35; 68-33; 68-59. And nothing in the Defendants’ briefing or oral presentation




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 reassures the States that federal agencies, under the Executive’s directives, will

 fulfill their funding obligations in the future. See e.g., ECF Nos. 68-20 (Arizona has

 incurred obligations over $16 million in reliance on Home Electrification and

 Appliance Rebate award, of which over $15 million has yet to be reimbursed); 68-49

 (University of Hawaii has been paying five employees out of pocket, without

 reimbursement to which they are entitled); 68-106 (elimination of $3 million Climate

 Pollution Reduction Grants (“CPRG”) would make statutory compliance more costly);

 68-61 (if not reimbursed through CPRG, Massachusetts may be forced to cancel

 vendor contract); 68-42 (California’s South Coast Air Quality Management District

 and its subgrantees face risks that EPA would refuse to reimburse incurred work and

 costs). This litany of struggles experienced in the last seven weeks unquestionably

 constitute irreparable harm to the States.

        D.     Balance of the Equities and Public Interest

        The Court need not say much more on the final two factors than it did when it

 granted the TRO as the more developed evidentiary record continues to

 overwhelmingly show that the balance of equities weighs heavily in favor of granting

 the States’ preliminary injunction motion and the public interest is supported by

 “preserv[ing] the status quo.” Francisco Sanchez v. Esso Standard Oil Co., 572 F.3d

 1, 19 (1st Cir. 2009).

        The Defendants are not harmed where the order requires them to disburse

 funds that Congress has appropriated to the States and that they have obligated. The

 Court’s order does not prevent the Defendants from making funding decisions in




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 situations under the Executive’s “actual authority in the applicable statutory,

 regulatory, or grant terms,” ECF No. 111 at 7; rather it enjoins agency action that

 violates statutory appropriations and obligations. An agency is not harmed by an

 order prohibiting it from violating the law.

       On the other hand, without injunctive relief to pause the categorical freeze, the

 funding that the States are due and owed creates an indefinite limbo. Without the

 injunction, Congressional control of spending will have been usurped by the

 Executive without constitutional or statutory authority. While some of the funding

 has begun to flow, and some only after the Court issued an order to enforce the TRO,

 the States continue to face substantial uncertainty about whether Defendants will

 meet their contractual obligations under several statutorily appropriated programs,

 including those under the IIJA and IRA. ECF Nos. 68-93; 68-105; 68-34; 68-101; 68-

 100; 68-114; 68-39; 68-80; 68-28; 68-40; 68-35; 68-61; 68-95; 68-23; 68-49; 68-60; 68-

 51; 68-48; 68-106; 68-108; 68-52; 68-83; 68-72; 68-59; 68-42; 68-85; 68-56.

       In light of the unrebutted evidence that the States and their citizens are

 currently facing and will continue to face a significant disruption in health, education,

 and other public services that are integral to their daily lives due to this overly broad

 pause in federal funding, the Court finds that the public interest lies in maintaining

 the status quo and enjoining any categorical funding freeze.

 IV.   PRELIMINARY INJUNCTION

       A preliminary injunction is appropriate, and the Court ORDERS as follows:




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       1.     The Agency Defendants 16 are enjoined from reissuing, adopting,

 implementing, giving effect to, or reinstating under a different name the directives in

 OMB Memorandum M-25-13 (the “OMB Directive”) with respect to the disbursement

 and transmission of appropriated federal funds to the States under awarded grants,

 executed contracts, or other executed financial obligations.

       2.     The Agency Defendants are enjoined from pausing, freezing, blocking,

 canceling, suspending, terminating, or otherwise impeding the disbursement of

 appropriated federal funds to the States under awarded grants, executed contracts,

 or other executed financial obligations based on the OMB Directive, including funding

 freezes dictated, described, or implied by Executive Orders issued by the President

 before rescission of the OMB Directive or any other materially similar order,

 memorandum, directive, policy, or practice under which the federal government

 imposes or applies a categorical pause or freeze of funding appropriated by Congress.

 This includes, but is by no means not limited to, Section 7(a) of Executive Order

 14154, Unleashing American Energy.

       3.     The Defendants must provide written notice of this Order to all federal

 departments and agencies to which the OMB Directive was addressed. The written

 notice shall instruct those departments and agencies that they may not take any

 steps to implement, give effect to, or reinstate under a different name or through

 other means the directives in the OMB Directive with respect to the disbursement or




       16“Agency Defendants” refers to the federal executive Agencies and
 Departments that are parties in this suit.


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 transmission of appropriated federal funds to the States under awarded grants,
 executed contracts, or other executed financial obligations.
       4.     The foregoing written notice shall also instruct those agencies to release
 and transmit any disbursements to the States on awarded grants, executed contracts,
 or other executed financial obligations that were paused on the grounds of the OMB
 Directive and Executive Orders included by reference therein or issued before the
 rescission of the OMB Directive.
       5.     In light of the States’ second motion to enforce the TRO, ECF No. 160,
 Defendant Federal Emergency Management Agency (“FEMA”) shall file a status
 report on or before March 14, 2025, informing the Court of the status of their
 compliance with this order.
       Additionally, based on its findings that the States: (1) are entitled to a
 preliminary injunction; and (2) will be irreparably harmed without this Order, the
 Court DENIES the Defendants’ request to stay this Order pending appeal to the First
 Circuit.   See ECF No. 113 at 65-66. Further, the Court DENIES as moot the
 Plaintiffs’ motion to enforce the TRO because this Order’s issuance renders the TRO
 expired. ECF No. 160.
 IT IS SO ORDERED.
 _________________________________


    vVrr,
 John J. McConnell, Jr.
 Chief Judge
 United States District Court for the District of Rhode Island
 March 6, 2025
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